 8:09-cr-00141-JFB-SMB             Doc # 56   Filed: 07/15/09     Page 1 of 1 - Page ID # 82




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )              8:09CR141
                                                    )
       vs.                                          )              ORDER
                                                    )
ELLIE MILLS,                                        )
                                                    )
                      Defendant.                    )


       This matter is before the court on the motion of defendant Ellie Mills (Mills) for release
from detention (Filing No. 44). After reviewing the Pretrial Services report, Mills’s criminal and
substance abuse history, and the substance abuse evaluation submitted in connection with
this motion, the motion for release (Filing No. 44) is denied.


       IT IS SO ORDERED.
       DATED this 15th day of July, 2009.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
